     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 1 of 14 Page ID #:2268



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 9
      Attorneys for Plaintiff
10    UNITED STATES OF AMERICA

11                             UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13    UNITED STATES OF AMERICA,                No. CR 20-127(B)-MWF

14                Plaintiff,                   GOVERNMENT’S SECOND RENEWED AND
                                               SUPPLEMENTAL MOTION TO COMPEL
15                     v.                      RECIPROCAL DISCOVERY
16    GUAN LEI,                                Hearing Date: 6/7/2021
                                               Hearing Time: 1:30 p.m.
17                Defendant.                   Location:     Courtroom of the
                                                             Hon. MICHAEL W.
18                                                           FITZGERALD
19

20          Plaintiff United States of America, by and through its counsel
21    of record, the Acting United States Attorney for the Central District
22    of California and Assistant United States Attorneys George E. Pence
23    and William M. Rollins, hereby files its Second Renewed and
24    Supplemental Motion to Compel Reciprocal Discovery.
25    //
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     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 2 of 14 Page ID #:2269



 1          This Motion is based upon the attached memorandum of points and

 2    authorities, the exhibits thereto, the files and records in this

 3    case, and such further evidence and argument as the Court may permit.

 4     Dated: May 7, 2021                  Respectfully submitted,

 5                                         TRACY L. WILKISON
                                           Acting United States Attorney
 6
                                           CHRISTOPHER D. GRIGG
 7                                         Assistant United States Attorney
                                           Chief, National Security Division
 8

 9                                               /s/
                                           GEORGE E. PENCE
10                                         WILLIAM M. ROLLINS
                                           Assistant United States Attorney
11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA
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     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 3 of 14 Page ID #:2270



 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.     INTRODUCTION

 3           After the government filed a motion to compel reciprocal

 4    discovery (CR 77), and thereafter filed a renewed and supplemental

 5    motion to compel that discovery (CR 142), the Court ordered defendant

 6    to comply with his reciprocal discovery obligations by April 30, 2021

 7    (CR 160).      Defendant did not comply with the Court’s order.        Instead,

 8    defendant’s counsel sent the government an email identifying by name

 9    some, but apparently not all, the witnesses defendant intends to call

10    at trial.1      Defendant did not produce any documents or objects or
11    reports of examinations or tests.       See Fed. R. Crim. P. 16(b)(1)(A)-
12    (B).       Moreover, defendant’s disclosure, such as it is, fails to
13    identify any of these witnesses as purported experts, fails to state
14    the bases for any such expert testimony, and fails to provide a
15    written summary of such testimony that the defendant intends to use
16    under Rules 702, 703, or 705 of the Federal Rules of Evidence, as
17    required by Federal Rule of Criminal Procedure 16(b)(1)(C).
18           In addition, one of defendant’s anticipated witnesses,
19    defendant’s advisor at the University of California, Los Angeles

20    (“UCLA”), Professor Wotao Yin, has already told the government that

21    he intends to invoke his right against self-incrimination if asked

22    questions by the government under oath.        The possibility that Prof.

23    Yin might assert that right at trial requires that the Court ensure

24    he is advised by counsel and raises the specter of a mistrial,

25    especially if Prof. Yin were to make such an invocation during his

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28           A copy of defense counsel’s email is attached hereto as
             1
      Exhibit A.
     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 4 of 14 Page ID #:2271



 1    direct or cross-examination, resulting in a substantial waste of the

 2    Court’s time and resources.

 3          By this motion, the government again requests that the Court

 4    compel defendant to satisfy the requirement to produce reciprocal

 5    discovery pursuant to Rule 16(b) at least two weeks in advance of

 6    trial, so that the government has a fair opportunity to evaluate

 7    those disclosures and, if necessary, challenge the admissibility of

 8    defendant’s proffered expert testimony pursuant to Daubert v. Merrell

 9    Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and Kumho Tire Co. v.

10    Carmichael, 526 U.S. 137 (1999).       These measures are also necessary

11    so that the Court can perform its gate-keeping function with respect

12    to the admission of evidence at trial.

13    II.   ARGUMENT
14           As set forth in its original and renewed motions to compel
15    reciprocal discovery, which are incorporated herein by reference,
16    Rule 16(b) provides that when a defendant has requested that the
17    government produce discovery in accordance with Rule 16(a), and the
18    government has complied, the defendant must provide reciprocal
19    discovery to the government.       The purpose of Rule 16(b) is to ensure

20    that discovery is a “two-way street.”         United States v. Stackpole,

21    811 F.2d 689, 697 (1st Cir. 1987).          A defendant’s failure to comply

22    with the requirements of Rule 16(b) provides grounds for excluding

23    any evidence defendant has improperly failed to produce.           See Taylor

24    v. Illinois, 484 U.S. 400, 410-11 (1988).         The Ninth Circuit and

25    other courts have adopted this view in excluding evidence as a

26    sanction for defendants’ failure to comply with reciprocal discovery

27    obligations.     See, e.g., United States v. Scholl, 166 F.3d 964, 972

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     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 5 of 14 Page ID #:2272



 1    (9th Cir. 1999) (affirming exclusion of evidence apparently withheld

 2    so that government would be unable to fully investigate).

 3          Defendant’s disclosure appears to identify three people who

 4    defendant may call upon to offer expert testimony at trial – (1)

 5    Prof. Yin, (2) attorney Armineh Ebrahimiian, and (3) an unnamed

 6    “military officer from China” – though the subject matter of their

 7    expected testimony is far from clear.        The disclosure also identifies

 8    defendant’s girlfriend Zhihui Yang and defendant’s former roommate,

 9    Meng Zhao, but, again, the government is left to guess whether

10    defendant expects to elicit and seek to admit expert testimony from

11    these witnesses.

12          With respect to Prof. Yin, defendant’s disclosure states merely:

13    “you have the 302 interview.”       A copy of the Federal Bureau of

14    Investigation (“FBI”) report of its interview of Prof. Yin is

15    attached hereto as Exhibit B.       As that report reflects, Prof. Yin

16    made statements to FBI that relate to his purported expertise in

17    computer science and the administration of Chinese academic

18    institutions.    Specifically, Prof. Yin said that his research was

19    “not in sensitive areas,” that defendant was the “best programmer in

20    his lab,” that defendant worked on a “consumer GPU,” that defendant

21    “wrote code, always from public data sets,” that “[t]heir research

22    was not worth taking, because the field moved too fast,” that “it was

23    normal for students to go through two weeks of military style

24    training on a Chinese campus,” and that the National University of

25    Defense Technology, where defendant is a doctoral candidate, “had

26    many civilians.”

27          The bases for these opinions are not fully illuminated by the

28    FBI’s report, nor are they clarified in any way by defendant’s

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     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 6 of 14 Page ID #:2273



 1    barebones disclosure.     What’s more, in Fall 2020, Prof. Yin informed

 2    the government, through his counsel, that he intended to invoke his

 3    rights under the 5th Amendment to the U.S. Constitution and not

 4    answer under oath any further questions presented to him by the

 5    government.

 6          With respect to Mr. Ebrahimiian, defendant’s disclosure is even

 7    more opaque.    The disclosure states only, “the lawyer who tried to

 8    extend the J-1 visa.”     It is unclear what relevant testimony Mr.

 9    Ebrahimiian may have to offer, much less whether any of that

10    testimony relies on his legal expertise, including about the process

11    for applying for or extending visas to study in the United States.

12    It is also unclear whether defendant intends to assert or waive the

13    attorney-client privilege with respect to any communications he might

14    have had with Mr. Ebrahimiian, which further complicates the

15    government’s and the Court’s assessment of whether defendant plans to

16    offer Mr. Ebrahimiian as a percipient or an expert witness, or some

17    combination of the two.

18          Finally, defendant’s disclosure alludes to the possibility the

19    Chinese government might “accomodat[e] [his] subpoena/request to have

20    a military officer from China come to the US as a witness” but that

21    defendant “may not be able to determine their cooperation until the

22    trial is in process.”     Defendant’s lack of success in securing the

23    testimony of such an expert witness does not release defendant from

24    Rule 16’s requirements.      This disclosure is plainly deficient, as it

25    does not identify the witness, the expected expert testimony, or the

26    bases thereof.    And to the extent defendant may seek to identify and

27    call such an expert witness after trial commences, that approach

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     Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 7 of 14 Page ID #:2274



 1    would almost certainly cause delay and inconvenience the Court and

 2    the jury.

 3    III. CONCLUSION

 4          For the foregoing reasons, the government respectfully requests

 5    that this Court again order defendant to comply with his reciprocal

 6    discovery obligations.

 7     Dated: May 7, 2021                  Respectfully submitted,

 8                                         TRACY L. WILKISON
                                           Acting United States Attorney
 9
                                           CHRISTOPHER D. GRIGG
10                                         Assistant United States Attorney
                                           Chief, National Security Division
11

12                                               /s/
                                           GEORGE E. PENCE
13                                         WILLIAM M. ROLLINS
                                           Assistant United States Attorney
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                                           Attorneys for Plaintiff
15                                         UNITED STATES OF AMERICA
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Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 8 of 14 Page ID #:2275




                             EXHIBIT A
Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 9 of 14 Page ID #:2276


  From:            Harland Braun
  To:              Rollins, William (USACAC); Pence, George (USACAC)
  Cc:              Bin Li; harland@braunlaw.com
  Subject:         Rule 16 Compliance
  Date:            Saturday, May 1, 2021 9:49:58 AM
  Attachments:     image001.png



  As you can glean from our earlier filings, I do not approve of the label
  “reciprocal discovery” because the constitutional bases for prosecution
  discovery and defense disclosure are different. In fact, compelled
  discovery beyond Rule 16 is a violation of our client’s Fifth Amendment
  rights. Nevertheless we do at this time have some idea who we might
  call and the evidence we intent to present if you survive a Rule 29..

  Two of your counts involve Mr Guan’s statements to the FBI which
  implicates more than just short excerpts of the interviews. The other
  count involves his alleged interference with an FBI investigation by
  destroying a hard drive. We have no idea what the investigation was
  about or how destroying his fiancé’s hard drive interfered with the
  investigation. Mr. Guan is not and was never a member of the Chinese
  military as your own experts establish. The FBI interrogation about
  additional digital storage was so cursory that no one would understand
  what the agent was attempting to learn particularly using a language
  that does not have a second person plural. Despite this chaos and
  ambiguity, we have made a few decisions at this time.

  We plan to call:

                 (1) Zhihui Zhang who you have interviewed and whose
                 testimony will consist of the recorded deposition.
                 (2) Professor Wotao Yin –you have the 302 interview
                 (3) Armineh Ebrahimiian—the lawyer who tried to extend the
                 J-1 visa
                 (4) Guan Lie’s interview with the FBI. We plan to offer most of
Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 10 of 14 Page ID #:2277


             the transcript of two interviews with the FBI agent. Normally
             they would be hearsay but you will be presenting limited
             excerpts of the interviews.. We will offer much of the balance
             to explain the excerpts you offer as well as the oppressive
             tone of the interviews. You need not wait to prepare your
             excerpts because we intend to present the balance of the
             interviews as part of our case. We do not want to mislead the
             jury to believe you made a fair presentation of Mr. Guan’s
             statements.
             (5) Meng Zhoa==the roommate already interviewed by the FBI

  As you must understand, some of our case will be presented through
  the cross-examination of your witnesses. We assume the experts have
  read the interviews of the other experts. However, we do not concede
  that a proper foundation can be laid that Mr. Guan is a member of the
  military through “experts.” You might consider dismissing that count.

  As you probably know, the Chinese government has determined that
  the sending of PhD candidates and PhD scholars to the US constitutes a
  brain drain to their disadvantage. They therefore are trying to
  terminate that part of the program. The fear created by this case may
  assist them in that regard. We therefore do not know whether they will
  assist us in voluntarily accommodating our subpoena/request to have a
  military officer from China come to the US as a witness. We will alert
  you as soon as we know, but we may not be able to determine their
  cooperation until the trial is in process.
  Sincerely,
  Harland Braun




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  Los Angeles, CA 90024
Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 11 of 14 Page ID #:2278


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  Braun & Braun LLP
Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 12 of 14 Page ID #:2279




                             EXHIBIT B
Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 13 of 14 Page ID #:2280
Case 8:20-cr-00127-MWF Document 195 Filed 05/07/21 Page 14 of 14 Page ID #:2281
